                 Case 2:15-cv-00799-KJM-DB Document 302 Filed 05/09/23 Page 1 of 5


       1   Laura L. Ho (SBN 173179)
           lho@gbdhlegal.com
       2   Anne Bellows (SBN 293722)
           abellows@gbdhlegal.com
       3   Stephanie Tilden (SBN 341486)
           stilden@gbdhlegal.com
       4   GOLDSTEIN, BORGEN, DARDARIAN & HO
           155 Grand Avenue, Suite 900
       5   Oakland, CA 94612
           Tel: (510) 763-9800 ǀ Fax: (510) 835-1417
       6
           Andrew Wolff (SBN 195092)
       7   andrew@awolfflaw.com
           LAW OFFICES OF ANDREW WOLFF, PC
       8   1615 Broadway, 4th Floor
           Oakland, CA 94612
       9   Tel: (510) 834-3300 ǀ Fax: (510) 834-3377
     10    Jesse Newmark (SBN 247488)
           jessenewmark@centrolegal.org
     11    CENTRO LEGAL DE LA RAZA
           3022 International Blvd., Suite 410
     12    Oakland, CA 94601
           Tel: (510) 437-1863 ǀ Fax: (510) 437-9164
     13
           Jocelyn Larkin (SBN 110817)
     14    jlarkin@impactfund.org
           Lindsay Nako (SBN 239090)
     15    lnako@impactfund.org
           THE IMPACT FUND
     16    2080 Addison Street, Suite 5
           Berkeley, CA 94704
     17    Tel: (510) 845-3473 ǀ Fax: (510) 845-3654
     18    Attorneys for Plaintiffs and Relators and the Certified Classes
     19                                   UNITED STATES DISTRICT COURT
                                         EASTERN DISTRICT OF CALIFORNIA
     20                                       SACRAMENTO DIVISION
     21    UNITED STATES OF AMERICA, ex rel.                     Case No.: 2:15-CV-00799-KJM-DB
           DENIKA TERRY, ROY HUSKEY III, and
     22    TAMERA LIVINGSTON, and each of them for               CLASS ACTION
           themselves individually, and for all other persons
     23    similarly situated and on behalf of the UNITED        STIPULATION AND [PROPOSED] ORDER
           STATES OF AMERICA                                     TO AMEND THE SCHEDULING ORDER
     24                                                          AND RESET EXPERT DISCOVERY
                  Plaintiffs/Relators,                           DEADLINES
     25
           vs.                                                   Before: Hon. Kimberley J. Mueller
     26
           WASATCH ADVANTAGE GROUP, LLC,       Trial Date:                     None Set
     27    WASATCH PROPERTY MANAGEMENT, INC.,
           WASATCH POOL HOLDINGS, LLC,
     28    CHESAPEAKE APARTMENT HOLDINGS, LLC,

                 STIP. AND [PROPOSED] ORDER TO RESET EXPERT DISCOVERY DEADLINES – CASE NO. 2:15-CV-00799 KJM-DB
871388.2
              Case 2:15-cv-00799-KJM-DB Document 302 Filed 05/09/23 Page 2 of 5


       1   LOGAN PARK APARTMENTS, LLC, LOGAN
           PARK APARTMENTS, LP, ASPEN PARK
       2   HOLDINGS, LLC, BELLWOOD JERRON
           HOLDINGS, LLC, BELLWOOD JERRON
       3   APARTMENTS, LP, BENT TREE
           APARTMENTS, LLC, CALIFORNIA PLACE
       4   APARTMENTS, LLC, CAMELOT LAKES
           HOLDINGS, LLC, CANYON CLUB HOLDINGS,
       5   LLC, COURTYARD AT CENTRAL PARK
           APARTMENTS, LLC, CREEKSIDE HOLDINGS,
       6   LTD, HAYWARD SENIOR APARTMENTS, LP,
           HERITAGE PARK APARTMENTS, LP, OAK
       7   VALLEY APARTMENTS, LLC, OAK VALLEY
           HOLDINGS, LP, PEPPERTREE APARTMENT
       8   HOLDINGS, LP, PIEDMONT APARTMENTS,
           LP, POINT NATOMAS APARTMENTS, LLC,
       9   POINT NATOMAS APARTMENTS, LP, RIVER
           OAKS HOLDINGS, LLC, SHADOW WAY
     10    APARTMENTS, LP, SPRING VILLA
           APARTMENTS, LP, SUN VALLEY HOLDINGS,
     11    LTD, VILLAGE GROVE APARTMENTS, LP,
           WASATCH QUAIL RUN GP, LLC, WASATCH
     12    PREMIER PROPERTIES, LLC, WASATCH
           POOL HOLDINGS III, LLC,
     13    and DOES 1-4,

     14         Defendants.

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

     26

     27

     28


              STIP. AND [PROPOSED] ORDER TO RESET EXPERT DISCOVERY DEADLINES – CASE NO. 2:15-CV-00799 KJM-DB
871388.2
                Case 2:15-cv-00799-KJM-DB Document 302 Filed 05/09/23 Page 3 of 5


       1          STIPULATION AND [PROPOSED] ORDER TO AMEND THE SCHEDULING
                         ORDER AND RESET EXPERT DISCOVERY DEADLINES
       2

       3          Plaintiffs and Relators Denika Terry, Roy Huskey III, and Tamera Livingston as court

       4   appointed representatives for the certified classes of California tenants and as relators for the United

       5   States and Defendants Wasatch Property Management, et al. (together, the Parties), by and through

       6   their undersigned counsel, stipulate as follows:

       7          WHEREAS, under Federal Rule of Civil Procedure 16(b)(4), the Court has broad discretion

       8   to modify a pretrial scheduling order on a showing of “good cause,” focusing on the diligence of the

       9   parties and the reasons for the modification;

     10           WHEREAS, the scheduling order entered by the Court on December 2, 2022 (ECF No. 279)

     11    provided for the following deadlines:

     12           •   Production of supplemental data shall be completed by April 21, 2023;

     13           •   Fact discovery shall be completed by May 12, 2023;

     14           •   Expert disclosures shall be completed by May 19, 2023;

     15           •   Rebuttal expert witnesses shall be exchanged by June 23, 2023;

     16           •   All expert discovery shall be completed by July 14, 2023; and

     17           •   Final Pretrial Conference is set for September 22, 2023 at 10:00 a.m.

     18           WHEREAS, on March 29, 2023, Magistrate Judge Barnes issued an order continuing the

     19    deadline for the completion of fact discovery to June 2, 2023 (ECF No. 295);

     20           WHEREAS, the parties have completed production of supplemental data and are diligently

     21    completing fact discovery;

     22           WHEREAS, the deadline for completing expert disclosures is now two weeks before the

     23    deadline for completing fact discovery;

     24           WHEREAS, extending the deadline for completing expert disclosures will not unduly delay

     25    the litigation or prejudice any party and will not affect the currently scheduled Final Pretrial

     26    Conference;

     27           THEREFORE, the Parties jointly stipulate and request that the Court order that the current

     28    case schedule (ECF Nos. 279, 295) be modified to reflect the following deadlines:

                                                               1
               STIP. AND [PROPOSED] ORDER TO RESET EXPERT DISCOVERY DEADLINES – CASE NO. 2:15-CV-00799 KJM-DB
871388.2
               Case 2:15-cv-00799-KJM-DB Document 302 Filed 05/09/23 Page 4 of 5


       1         •   Fact discovery shall be completed by June 2, 2023;
       2         •   Expert disclosures shall be completed by May 19, 2023; July 11, 2023;
       3         •   Rebuttal expert witnesses shall be exchanged by June 23, 2023; August 14, 2023;
       4         •   All expert discovery shall be completed by July 14, 2023; September 1, 2023; and
       5         •   Final Pretrial Conference is set for September 22, 2023, at 10:00 a.m.
       6

       7   Dated: May 9, 2023                           Respectfully submitted,

       8                                                GOLDSTEIN, BORGEN, DARDARIAN & HO

       9
                                                        /s/ Anne P. Bellows
     10                                                 Anne P. Bellows
     11                                                 Attorneys for Plaintiffs and Relators
                                                        and the Certified Classes
     12

     13    Dated: May 9, 2023                           Respectfully submitted,
     14                                                 LEWIS BRISBOIS BISGAARD & SMITH LLP
     15
                                                        /s/ Ryan Matthews (as authorized 5/9/23)
     16                                                 Ryan Matthews
     17                                                 Attorneys for Defendants
     18

     19

     20

     21

     22

     23

     24

     25

     26

     27

     28

                                                            2
               STIP. AND [PROPOSED] ORDER TO RESET EXPERT DISCOVERY DEADLINES – CASE NO. 2:15-CV-00799 KJM-DB
871388.2
                Case 2:15-cv-00799-KJM-DB Document 302 Filed 05/09/23 Page 5 of 5


       1                                        [PROPOSED] ORDER

       2          Good cause appearing, the Court hereby ORDERS that the scheduling order be modified to

       3   reflect the following deadlines:

       4          •   Fact discovery shall be completed by June 2, 2023;
       5          •   Expert disclosures shall be completed by July 11, 2023;
       6          •   Rebuttal expert witnesses shall be exchanged by August 14, 2023;
       7          •   All expert discovery shall be completed by September 1, 2023; and
       8          •   Final Pretrial Conference is set for September 22, 2023, at 10:00 a.m.
       9
     10           SO ORDERED.
     11

     12    DATED:                                               By:
                                                                      Hon. Kimberly J. Mueller
     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

     26

     27

     28

                                                            3
               STIP. AND [PROPOSED] ORDER TO RESET EXPERT DISCOVERY DEADLINES – CASE NO. 2:15-CV-00799 KJM-DB
871388.2
